              Case 4:22-cv-01587-JSW Document 89 Filed 07/12/23 Page 1 of 5




 1   DAVID CHIU, State Bar #189542
     City Attorney
 2   LAUREN E. WOOD, State Bar #280096
     ADAM M. SHAPIRO, State Bar #267429
 3   Deputy City Attorneys
     Fox Plaza, 1390 Market Street, 7th Floor
 4   San Francisco, California 94102-5408
     Telephone: (415) 554-4261 (Wood)
 5                 (415) 554-3830 (Shapiro)
     Facsimile:    (415) 554-4699
 6   E-Mail:       lauren.wood@sfcityatty.org
                   adam.shapiro@sfcityatty.org
 7
     Attorneys for Defendant
 8   CITY AND COUNTY OF SAN FRANCISCO

 9

10                                  UNITED STATES DISTRICT COURT

11                                 NORTHERN DISTRICT OF CALIFORNIA

12
      SELINA KEENE, MELODY FOUNTILA,                 Case No. 4:22-cv-01587-JSW
13    MARK MCCLURE,
                                                     Related Case Nos.:
14           Plaintiffs,                             4:22-cv-03975-JSW
                                                     4:22-cv-04319-JSW
15           vs.                                     4:22-cv-04633-JSW
                                                     4:22-cv-06013-JSW
16    CITY and COUNTY OF SAN FRANCISCO;              4:22-cv-07455-JSW
      LONDON BREED, Mayor of San Francisco in        4:22-cv-07645-JSW
17    her official capacity; CAROL ISEN, Human       4:23-cv-00211-JSW
      Resources Director, City and County of San
18    Francisco, in her official capacity; DOES 1-   PROOF OF SERVICE RE: ADMINISTRATIVE
      100,                                           MOTION TO CONSIDER WHETHER CASES
19                                                   SHOULD BE RELATED (4:23-cv-03139 and
             Defendants.                             4:23-cv-09045)
20

21

22

23

24

25

26

27

28
      PROOF OF SERVICE                                                     n:\labor\li2022\220836\01689731.docx
      CASE NO. 4:22-cv-01587-JSW
                 Case 4:22-cv-01587-JSW Document 89 Filed 07/12/23 Page 2 of 5




 1                                            PROOF OF SERVICE

 2             I, Luisa Armanino, declare as follows:

 3           I am a citizen of the United States, over the age of eighteen years and not a party to the above-
     entitled action. I am employed at the City Attorney’s Office of San Francisco, Fox Plaza, 1390
 4   Market Street, 7th Floor, San Francisco, CA 94102.

 5             On XXXX, 2022, I served the following document:

 6          •     ADMINISTRATIVE MOTION TO CONSIDER WHETHER CASES SHOULD BE
                                   RELATED (4:23-cv-03139 and
 7                                       4:23-cv-09045)

 8         • DECLARATION OF ADAM M. SHAPIRO IN SUPPORT OF ADMINISTRATIVE
            MOTION TO CONSIDER WHETHER CASES SHOULD BE RELATED (4:23-cv-03139
 9                                        and
                                     4:23-cv-09045)
10
           •   [PROPOSED] ORDER GRANTING ADMINISTRATIVE MOTION TO CONSIDER
11                       WHETHER CASES SHOULD BE RELATED (4:23-cv-03139 and
                                                     4:23-cv-09045)
12   on the following persons at the locations specified:
13    Colby M. Turner                                       Co-Counsel for Defendants
      Yoon-Woo Nam
14    Seyfarth Shaw, LLP
      400 Capitol Mall, Suite 2300
15    Sacramento, CA 95814-4428
      Email: cturner@seyfarth.com
16            ynam@seyfarth.com

17    [VIA CM/ECF EMAIL SERVICE]

18    Eric M. Lloyd                                            Co-Counsel for Defendants
      Seyfarth Shaw, LLP
19    560 Mission Street, 31st Floor
      San Francisco, CA 94105-2930
20    Email: elloyd@seyfarth.com

21    [VIA CM/ECF EMAIL SERVICE]

22

23

24

25

26

27   ///

28
      PROOF OF SERVICE                                     1                        n:\labor\li2022\220836\01689731.docx
      CASE NO. 22-cv-01587-JSW
              Case 4:22-cv-01587-JSW Document 89 Filed 07/12/23 Page 3 of 5



      Dawn R. Solowey                              Co-Counsel for Defendants
 1    Seyfarth Shaw, LLP                           (admitted pro hac vice)
      2 Seaport Lane, Suite 1200
 2    Boston, MA 02210-2028
      Email: dsolowey@seyfarth.com
 3
      [VIA CM/ECF EMAIL SERVICE]
 4
      Russell Davis                                Counsel for Plaintiffs
 5    PACIFIC JUSTICE INSTITUTE
      29 Lakewood Avenue                           [Selena Keene v. City and County of San
 6    San Francisco, CA 94127                      Francisco; US District Court Case No.
      Email: rdavis@pji.org                        4:22-cv-01587-JSW]
 7    Email: loanhound@sbcglobal.net
 8    [VIA CM/ECF ESERVICE]
 9    Arkady Itkin                                 Co-Counsel for Plaintiff
      LAW OFFICE OF ARKADY ITKIN
10    57 Post Street, Suite 812                    [Jose Guardado, et al. v. City and County
      San Francisco, CA 94104                      of San Francisco; US District Court Case
11    Email: arkady@arkadylaw.com                  No. 3:22-cv-04319-JSW];
12    [VIA CM/ECF AND EMAIL ESERVICE]              [David Gozum v. City and County of San
                                                   Francisco; US District Court Case No.
13                                                 3:22-cv-03975-JSW];
14                                                 [Chase Rodriguez v. City and County of
                                                   San Francisco; US District Court Case
15                                                 No. 4:23-cv-03139-DMR]
16    Kevin T. Snider                              Co-Counsel for Plaintiffs
      Emily C. Mimnaugh
17    PACIFIC JUSTICE INSTITUTE                    [Jose Guardado, et al. v. City and County
      P.O. Box 276600                              of San Francisco; US District Court Case
18    Sacramento, CA 95827                         No. 3:22-cv-04319-JSW];
19    Email: ksnider@pji.org                       [Thaddeus Saleem Shaheed v. City and
      Email: emimnaugh@pji.org                     County of San Francisco; US District
20    Email: mmcreynolds@pji.org                   Court Case No. 4:22-cv-04319-JSW]
21    [VIA CM/ECF AND EMAIL ESERVICE]
22    April Monegas                                Plaintiff in Propria Persona
      2104 East Anderson Lane, Apt. 1513
23    Austin, TX 78752                             [Monegas v. City and County of San
      Email: amonegas@gmail.com                    Francisco; US District Court Case No.
24                                                 4:22-cv-04633-JSW]
      [VIA EMAIL SERVICE]
25

26

27   ///
28
      PROOF OF SERVICE                         2                        n:\labor\li2022\220836\01689731.docx
      CASE NO. 22-cv-01587-JSW
             Case 4:22-cv-01587-JSW Document 89 Filed 07/12/23 Page 4 of 5



     Ronn Bisbee                                   Co-Counsel for Plaintiffs
 1   BISBEE LAW GROUP
     24040 Camino del Avion, Suite E-109           [Jose Guardado, et al. v. City and County
 2   Monarch Beach, CA 92629                       of San Francisco; US District Court Case
                                                   No. 3:22-cv-04319-JSW];
 3   Email: info@bisbeelawgroup.com
                                                   [Thaddeus Saleem Shaheed v. City and
 4   [VIA CM/ECF AND EMAIL ESERVICE]               County of San Francisco; US District
                                                   Court Case No. 4:22-cv-04319-JSW]
 5
     Charles S. LiMandri                           Co-Counsel for Plaintiff
 6   Paul M. Jonna
     Jeffrey M. Trissell                           [Denise Debrunner v. City and County of
 7   Robert E. Weisenburger                        San Francisco; US District Court Case
     LiMandri & Jonna                              No. 4:22-cv-07455-JSW]
 8   P.O. Box 9120
     Rancho Santa Fe, CA 92067
 9   Email: cslimandri@limandri.com
             pjonna@limandri.com
10           jtrissel@limandri.com
             rweisenburger@limandri.com
11
     [VIA CM/ECF EMAIL SERVICE]
12
     John C. Sullivan                              Co-Counsel for Plaintiff
13   SL Law PLLC                                   (admitted pro hac vice)
     610 Uptown Boulevard, Suite 2000
14   Cedar Hill, TX 75104                          [Denise Debrunner v. City and County of
     Email: john.sullivan@the-sl-lawfirm.com       San Francisco; US District Court Case
15                                                 No. 4:22-cv-07455-JSW]
     [VIA CM/ECF EMAIL SERVICE]
16
     Hugo Torbet                                   Counsel for Plaintiff
17   Attorney at Law
     1 Harbor Drive, Suite 300                     [Joseph Cook v. City and County of San
18   Sausalito, CA 94965                           Francisco; US District Court Case No.
     Email: steadyrolling@gmail.com                4:22-cv-07645-JSW]
19
     [VIA CM/ECF EMAIL SERVICE]
20
     Heather Flick                                 Counsel for Plaintiff
21   Molly McCann
     Binnall Law Group PLLC                        [Charlotte Rae Sanders v. City and County
22   717 King Street, Suite 200                    of San Francisco; US District Court Case
     Alexandria, VA 22314                          No. 4:23-cv-00211-JSW]
23   Email: heather@binnall.com
            molly@binnall.com
24
     [VIA EMAIL SERVICE]
25
     Estelle Christina Yancey                      Plaintiff, Pro Se
26   668 Industrial Park, #4152
     Manteca, CA 95337                             [Estelle Christina Yancey v. City and
27                                                 County of San Francisco; US District
     [VIA U.S. MAIL]                               Court Case No. 4:22-cv-09045-DMR]
28
     PROOF OF SERVICE                          3                           n:\labor\li2022\220836\01689731.docx
     CASE NO. 22-cv-01587-JSW
              Case 4:22-cv-01587-JSW Document 89 Filed 07/12/23 Page 5 of 5



      Chief Magistrate Judge Donna M. Ryu                              Assigned Judge
 1    Courtroom 4, 3rd Floor
      United States District Court – Oakland                           [Chase Rodriguez v. City and County of
 2    1301 Clay Street                                                 San Francisco; US District Court Case
      Oakland, CA 94612                                                No. 4:23-cv-03139-DMR];
 3
      [VIA HAND DELIVERY]                                              [Estelle Christina Yancey v. City and
 4                                                                     County of San Francisco; US District
                                                                       Court Case No. 4:22-cv-09045-DMR]
 5

 6   in the manner indicated below:
 7          BY UNITED STATES MAIL: Following ordinary business practices, I sealed true and correct copies of
            the above documents in addressed envelope(s) and placed them at my workplace for collection and mailing with
 8          the United States Postal Service. I am readily familiar with the practices of the San Francisco City Attorney's
            Office for collecting and processing mail. In the ordinary course of business, the sealed envelope(s) that I placed
 9          for collection would be deposited, postage prepaid, with the United States Postal Service that same day.

10          BY ELECTRONIC MAIL: Based on a court order or an agreement of the parties to accept electronic
            service, I caused the documents to be sent to the person(s) at the electronic service address(es) listed above. Such
11          document(s) were transmitted via electronic mail from the electronic address: luisa.armanino@sfcityatty.org        in
            portable document format ("PDF") Adobe Acrobat.
12
            BY ELECTRONIC MAIL: Based on a court order or an agreement of the parties to accept electronic
13          service, I caused the documents to be served electronically through CM/ECF in portable document format
            ("PDF") Adobe Acrobat.
14
            BY HAND DELIVERY: I sealed true and correct copies of the above documents in addressed envelope(s)
15          and caused such envelope(s) to be delivered by hand at the above locations by a professional messenger service.

16          I declare under penalty of perjury pursuant to the laws of the State of California that the
     foregoing is true and correct.
17
            Executed July 12, 2023, at San Francisco, California.
18

19
20                                                       LUISA ARMANINO
21

22

23

24

25

26

27

28
      PROOF OF SERVICE                                             4                             n:\labor\li2022\220836\01689731.docx
      CASE NO. 22-cv-01587-JSW
